     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 1 of 13 Page ID #:1

                                                                                             ~' ~~~a
 1

 2     JOSE FLORES
       12814 Victory Blvd. # 378
 3     North Hollywood, CA 91606                                                2~~~ QEt 27 AM 10~ 20
       Telephone Number: (818)445-1769                                         1,'Y.~€' ?~ if ) ~~:. i                         .t.
 4
       Attorney in Pro Se                                                                                t~l` .   i..1/E~i .

                                                                                        L OS ~~4G~LE
 5                                                                             Q Y~----_

 6                                     UNITED STATES DISTRICT COURT
 7                                                      For the

 8                                           Central District of California

 9
                                                       C V17~-a7~7 -c~M~~~
10       JOSE FLORES an individual                    .) CASE NO.:

11                                                        Assigned to Judge:

12                   Plaintiffs)

                           vs.                           Date:
13                                                       Time:
                                                         Dept."
14
         GAIN CAPITALGROUP LLC,a Limited                 Trial date: None Set
15
         Liability corporation and Does 1 through
         1 C ,~; Inclusive
16                                                         Demand Exceeds $ 140,000.00
                    Defendants)                            Demand for Jury Trial
17                                                         Demand for punitive damages
18

19
      Plaintiff Alleges:
20
                                   PRELIMINARY ALLEGATIONS:
21

22       1.     Plaintiff is informed and believes and thereon alleges that at all relevant times herein

23              mentioned Defendant GAIN CAPITAL GROUP LLC, is a limited liability corporation duly
24
                registered in the State of New Jersey and licensed to do business located at: 135 US Highway
25
                202/206, Suite 11, Bedminster, NJ 07921.
26

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                                                  1
                COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 2 of 13 Page ID #:2


 1       2.    In 2009, Gain was the subject of a Complaint issued by the Business Conduct Committee of

 2             the National Futures Association (hereinafter NFA). Gain was charged with failing to

 3             adequately review the websites of its unregistered solicitors to ensure that such websites did
 4
               not contain materially misleading information and failing to establish and implement an
 5
               adequate anti-money laundering program. Gain has continued these practices, despite being
 6
               fined $100,000 in the above-referenced case.
 7
         3.    Defendant is in violation of an NFA Compliance Rule (2-36[bXl]), which provides that no
 8
               FDM or an associate of an FDM engaging in any forex transaction shall cheat, defraud or
 9
               deceive, or attempt to cheat, defraud or deceive any other person.
10

11
         4.    Defendant is in violation of NFA Compliance Rule 2-36(bX4), which provides that no FDM

12             or associate of an FDM engaging in any forex transaction shall engage in manipulative acts or

13            practices regarding the price of any foreign currency or a forex transaction.

14       5.   Defendant is in violation of NFA Compliance Rule 2-36(c), which provides that FDM or

15            associate of an FDM shall observe high standards of commercial honor and just and equitable
16
              principles oftrade in the conduct oftheir forex business.
17
         6.   NFA's 2009 audit of Gain found that the firm engaged in leverage and margin practices that
18
              were harmful to its customers. For example, Gain adopted a policy whereby, every Friday, it
19
              lowered the leverage for all of its accounts that were allowed to trade at 200:1 leverage -
20
              which included the micro accounts - to a 100:1 leverage. The effect ofthis weekly adjustment
21
              was to increase the margin requirement on these accounts from 0.5% to 1%.
22
        7.    As a result of Gain's practice of adjusting leverage/margin levels on Fridays, the accounts of
23

24
              many of its customers became under margined -even though they were adequately margined

25            prior to the leverage adjustment. In order to bring the

26            under margined accounts back into compliance with the higher margin requirement, Gain

~~            would liquidate the largest losing position in these accounts. However, sometimes the losing
                                                2
              COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 3 of 13 Page ID #:3


 1             position that Gain liquidated contained multiple

 2             contracts and the liquidation of only a portion of the losing position would have been

 3             sufficient to satisfy the new margin requirement. Nevertheless, Gain would arbitrarily
 4
               liquidate the whole position which would not only result in the account
 5
               being over margined but preclude the customer from possibly realizing a potential gain on that
 6
               portion ofthe position the forced liquidation of which was unnecessary to satisfy the higher
 7
               margin requirement. On information and belief, Defendant continues these practices today,
 8
               causing Plaintiff damages subject to proof at trial.
 9
         8.    Gain did not disclose to its customers -either in account opening documents, on the firm's
10

11             website, or through any other means -that, if their accounts traded at 200:1 leverage(which

12             included all the micro account customers), they would be

13             subject to these routine weekly leverage/margin adjustments.

14 ~~          Gain's practice ofroutinely and repeatedly adjusting leverage and margin requirements on

15            Fridays, without giving affected customers adequate prior notice ofthe adjustment, denied
16            customers the opportunity to deposit additional funds
17
              to maintain their open positions or, at the very least, select which positions to liquidate, and
18
              caused them to experience significant losses in their accounts. As such, Gain breached its
19
              obligation to uphold high standards of commercial honor
20
              and just and equitable principles of trade.
21
         10   Defendants Does 1 through 10, inclusive are sued herein under fictitious names. Their true
22
              names and capacities are unknown to plaintiff. When their true names and capacities are
23

24            ascertained, Plaintiff will amend his complaint accordingly. Plaintiff is informed and believes

25            on information and believes.

26

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                                                 3
               COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 4 of 13 Page ID #:4


 1                                        FIRST CAUSE OF ACTION

 2                                       FRAUDULENT INDUCEMENT:

 3                                            (Against all defendants)

 4       1 1.   Flores was seduced by unsolicited propaganda and marketing material found in Yahoo, where
 5              Flores had some email accounts. Flores opened a practice account around the fall of 2008.
 6
                The understanding that Flores had ofthe practice account was to understand how the currency
 7
                trading works and to prepare them for the live real trading account. Flores was successfu190%
 8
                of the time with the practice account by doubling or even tripling the $SOk virtual money in
 9
                most cases.
10
                                           SECOND CAUSE OF ACTION
11
                                      INTENTIONAL MISREPRESENTATION:
12
                                                 (Against all defendants)
13
         12.    Gain was aggressively sending marketing materials to entice Plaintiff. Gain was constantly
14
                sending emails inviting and suggesting that currency trading was an easy way to made money,
15

16              with marketing material such as videos, tutorials, trading for dummies, etc.

17                                         THIltD CAUSE OF ACTION

18                                              CONCEALMENT:

19                                            (Against all defendants)

20       13.    Gain concealed the fact that 90% ofthe account holders will lose their money, regardless of

21              their level of expertise. On 11/04/2016 John Tedesco [Gain employee] told Flores on the

22              phone that unless Flores has an account with at least $SOOk he would not stand a chance to

23              profit. He also stated that it is very likely that any one will lose their money with accounts
24
                funded with less money. Gain Capital did not disclose to Flores that Gain is and was the
25
                counterparty against them in all their trading.
26

~~

                                                  4
                COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 5 of 13 Page ID #:5


 1                                        FOURTH CAUSE OF ACTION

 2                                       FRAUDULENT SOLICITACION:
 3
                                               (Against all defendants)
 4
         14.   Gain was constantly and aggressively sending marketing materials to entice Plaintiff to invest
 5
               money in Forex. Gain was constantly sending emails inviting and suggesting that currency
 6

 7             trading was an easy way to made money, with marketing material such is videos, tutorials,

 8             trading for dummies, etc. Gain promised to Plaintiff that they will have a dedicated broker to

 9             help and assist Flores, but once the live accounts were funded, the emails and interest abruptly

10             stopped.
11                                            FIFTH CAUSE OF ACTION
12                                                       FRAUD:

13                                                (Against all defendants)
         15.   Gain Capital concealed the fact that 90% ofthe account holders will lose their money,
14
               regardless of their level of expertise. Gain was constantly and aggressively sending marketi
15
               materials to entice Plaintiff to invest money in Forex. Gain was constantly sending emails
16

17             inviting and suggesting that currency trading was an easy way to made money, with marketing

18             material such is videos, tutorials, trading for dummies, etc. Gain promised to Plaintiff that they

19             will have a dedicated broker to help and assist Flores, but once the live accounts were funded,

20             the emails and interest abruptly stopped. The false information provided by Gain was relied
21             upon by Plaintiff when making a decision about futures or option trading that lead to
22
               plaintiff's damages.
23
                                              SIXTH CAUSE OF ACTION
24
                                          BREACH OF FIDUCIARY DUTY:
25
                                               (Against all defendants)
26
~~

                                                 5
               COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 6 of 13 Page ID #:6


 1       16.   Gain failed to provide a dedicated broker to supervise and to handle their trading accounts

 2             which lead to the total loss of their invested money, and to act with special care in handling
 3             their account when required to do so by the Commodity Exchange Act or CFTC rules.
 4
                                        SEVENTH CAUSE OF ACTION
 5

 6                                         UNAUTHORIZED TRADING:

 7                                                (Against all defendants)
         17.   Gain consistently manipulated Plaintiff's trades, sometimes by terminating or liquidating a
 8

 9             position followed by an illegal margin adjustment or even by completely changing the trade,

10             when the trades were likely in Plaintiff's favor without Plaintiff's specific authorization or a

11             written grant of authority to affect trades without specific authorization or any notification.

12                                            EIGHTH CAUSE OF ACTION

13                                         WRONGFUL LIQUIDATION:

14                                               (Against all defendants)

15 I     18.   Gain did terminate Plaintiffls open positions oftrades on a regular basis without the

16             knowledge or the written authorization of Plaintiff. Gain manipulated the margin and slippage
17
               routinely to its own advantage and to the detriment of plaintiffs.
18
                                              NINTH CAUSE OF ACTION
19                                             FAILURE TO SUPERVISE:
20                                                (Against all defendants)
         19.   Gain failed to supervise and to diligently oversee the handling of Plaintiff's accounts. Once
21
               plaintifffunded his account with real money no supervisors, partners, officers, employees, or
22

23             agents bothered to perform their fiduciary duty.

24                                           TENTH CAUSE OF ACTION

25                                               NONDISCLOSURE:

26                                            (Against all defendants)

~~

                                                 6
               COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 7 of 13 Page ID #:7


 1   iii       Gain failed to inform Plaintiff ofthe risks associated with futures and option trading, and that

 2             they are the counter-party behind every trade. The failure to disclose these material facts
 3             required for Plaintiff to make an intelligent decision about futures or option trading
 4
               contributed to Plaintiff's damages. Gain wanted Plaintiff and other customers to lose their
 5
               money for their own financial gain.
 6

 7                                   Respectfully Submitted; JOSE FLORES
 8                                           Dated: October 21, 2017
 9

10                              By

11                                           JOS FLORES,in Pro Se

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                                                 7
               COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 8 of 13 Page ID #:8


 1
                                   STATEMENT OF DAMAGES ADDENDUM:
 2

 3
          1- Flores invested and lost $140,000
 4        2- Gain Capital had kept Plaintiff's money for over four years at 10% interest
 5           as allowed by law; Plaintiff is owed a minimum of $48,000
 6        3- Plaintiff is entitled to Punitive Damages as the Court deems proper

 7        4- Plaintiff had suffered financial and emotional distress

 8        5- Plaintiff had lost opportunities by not having the money lost by Gain

 9                                               Total damages         $ 188,000

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                COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
     Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 9 of 13 Page ID #:9


 1
                                       DECLARATION OF JOSE FLORES
 2

 3       1. I am the plaintiff in the above-referenced case. The following is true of my own
 4
            knowledge, except as to the matters which are therein staxed upon my information or belief, and as
 5
            to those matters, I believe them to be true and if required I will competently testify to same at
 6
            any proceedings or hearings.
 7
        2. I was seduced by Gain Capital's false advertising, and their "Practice Account," which
 8
            purports to be a training program. Gain was constantly and aggressively sending marketing
 9
            materials to entice me to invest money in Forex. Gain was constantly sending emails
10
            inviting and suggesting that currency trading was an easy way to made money, with
11

12          marketing materials such is videos, tutorials, trading for dummies, etc. Gain promised to

13         Plaintiff that they will have a dedicated broker to help and assist me, but once the live

14          accounts were funded, the emails and interest abruptly stopped.

15      3. I never saw a customer agreement and never agreed to its terms.

16      4. Gain failed to provide a dedicated broker to supervise and to handle my trading accounts
17
            which lead to the total loss of my invested money, and to act with special care in handling
18
            my account when required to do so by the Commodity Exchange Act or CFTC rules.
19
        5. Gain consistently manipulated my trades, sometimes by terminating or liquidating a position
20
           followed by an illegal margin adjustment or even by completely changing the trade, when
21
           the trades were likely in my favor without my specific authorization or a written grant of
22
           authority to affect trades without specific authorization or any notification.
23
        6. Gain did terminate my open positions of trades on a regular basis without my knowledge or
24

25         written authorization. Gain manipulated the margin and slippage routinely to its own

26         advantage and to the detriment of its clients.

~~

                                                  9
                COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
 Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 10 of 13 Page ID #:10


 1    7. Gain failed to supervise and to diligently oversee the handling of my accounts. Once I

 2       funded my account with real money,no supervisors, partners, officers, employees, or agents
 3       bothered to perform their fiduciary duty.
 4
      8. Gain failed to inform me ofthe risks associated with futures and option trading, and the failure to
 5
         disclose any other material facts required to make an intelligent decision about futures or option
 6
         trading. Gain wanted me and other customers to lose their money for their own financial gain.
 7
     9. Because ofthe stress involved in losing all of our money, and the problems associated with trying
 8
         to make Gain Capital accountable for our losses, a terrible strain was placed on our marriage, and
 9
         my wife and I are now going through a divorce. This has caused insomnia, arixiety, depression,
10

11
         sleeplessness, and panic attacks, all proximately caused by the actions and inactions of Gain

12       Capital.

13
                    I declare under the penalty ofperjury that the foregoing is true and correct.
14

15                            Dated: October 21,2017, at Los Angeles, California

16
                                         B      ----- -     -- -- -- -----
17                                             Jo     oresin P o Se
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             COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL, DEMAND FOR PUNITIVE DAMAGES
          Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 11 of 13 Page ID #:11
                                        UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                             CIVIL COVER SHEET
I (a)PLAINTIFFS (Check box if you are representing yourself ~)
.                                                                                     DEFENDANTS            (Check box if you are representing yourself ~ )

                 S~ ~^~~6~-5
                0.                                                                      ~ '~..s n.+—r~ ~c~ ► ~:`t ~                         oa~~~tw

(b) County of Residence of First Listed Plaintiff           (_ ~          ~t          County of Residence of First Listed Defendant ~~jrnp~s~
(EXCEPTIN U.S. PLAINTIFF CASES)                                                       (IN U.S. PLAINTIFFCASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                    Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                  representing yourself, provide the same information.
    c~S ~~/-   ~f fR ES (                                   I        p /~' ,          G A1tJ CAP; ~~J~11- C~`o✓P LLC
 1 Z,~ ~ 'l ~~"CC~(1-~ ,~ 1 J          J . ~~18 It1' ~"~ ~ ~~         (!(~~            ~ ~~ ~S ~ [~~~ t~✓r~ '~-~ ~Z.E7~7 .S i~~'l e. ~ ~ r

P ~ ~~~ ~P~S 176                                                                       ~~m~u~ ~~. D~ c~`7 ~(
11. BA515 OF.JURISDICTION (Place an X in one box only.)                       III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                   (Place an X in one box for plaintiff and one for defendant)
                                                                                                        PTP     DEF                                          PTF DEF
     1. U.S. Government             ~ 3. Federal Question (U.S.                                                 Incorporated or Principal Place
                                                                                                                ❑ 1                                          ~ 4 ~ 4
                                                                             Citizen of This State      ~ 7
                                                                                                                of Business in this State
     Plaintiff                        Government Not a Party)
                                                                             Citizen of Another State   ~ 2 ~ 2 Incorporated and Principal Place             ❑ 5 ~C 5
                                                                                                                of Business in Another State
     2. U.S. Government             ~4. Diversity (Indicate Citizenship      Citizen or Subject of a      3   3 Foreign Nation                               ~ 6 ~ 6
     Defendant                       of Parties in Item III)                 Foreign Country            ~   ~

IV.ORIGIN (Place an X in one box only.)                                                                                        6. Mu~tidistrict        s. nnu~tidistrict
      1.Original   ❑ 2. Removed from        ❑ 3. Remanded from O 4. Reinstated or ❑ 5. Transferred from Another ❑                 Litigation -     ~      Litigation -
        Proceeding     State Court             .Appellate Court    Reopened            District (Specify)                         Transfer                Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes ~ No                                       (Check "Yes" only if demanded in complaint.)
CLA55 ACTION under F.R.Cv.P.23: ~Yes ~ No                                    ,~f MONEY DEMANDED IN COMPLAINT: $ ~ g~j,D~~
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)



VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STAMES                   CONTRACT           REAL pROPER'I'Y[ONT.          IMMIGRATION             PRISONER PETITIONS                   PROPERTY RIGHTS

    375 False Claims Act       ❑ 110 Insurance       ~ 240 Torts to Land        ~ 462 Naturalization            Habeas Corpus:          ~ 820 Copyrights
                                                                                  Application
    376 Qui Tam                ~ 120 Marine        ~ z45 Tort Product                                  ~ 463 Alien Detainee             ~ 830 Patent
                                                      Liability                   465 Other              510 Motions to Vacate
    (31 USC 3729(a))             1 30 Miller Act   ~ 290 All Other Real         ❑ Immigration Actions ❑ Sentence                          835 Patent -Abbreviated
    400 State                                         Property                        Tpg'~            Q 530 General                    ~ New Drug Application
                                  140 Negotiable
    Reapportionment            ❑ Instrument                TnRTs                PERSONALPROPERTY ~ 535 Death Penalty                    ~ 840 Trademark
    410 Antitrust                 150 Recovery of   PERSONAL INJURY             ~ 370 Other Fraud                                            5dCIAL SECURITY'-
                                                                                                                Other:
    430 Banks and Rankin         Overpayment &     ~ 310 Airplane                                                                       ~ 861 HIA (1395ifl
                        9      ~ Enforcement of                                 ~ 371 Truth in Lending ❑ 540 Mandamus/Other
                                                     315 Airplane
    450 Commerce/ICC             Judgment          ❑ Product Liability                                                                  ❑ 862 Black Lung (923)
    Rates/Etc.                                                                    380 Other Personal      ❑ 550 Civil Ri9hts
                               ❑ 151 Medicare Act ~ anderault, Libel &          ~ Property Damage         ~ 555 Prison Condition        ❑ 863 DIWC/DIWW(405(g))
    460 Deportation                                  5
  470 Racketeer Influ-            152 Recovery of    330 Fed. Employers'       ~ 385 Property Damage     560 Civil Detainee       ~ 864 SSID Title XVI
                               ❑ Defaulted Student ❑ Liabili                     Product Liability     ❑ Conditions of
  enced &Corrupt Org.                                       ~                                            Confinement              ❑ 865 R51(405 (g))
                                 Loan (Exd. Vet.)                                  BANKRUPTCY
❑ 480 Consumer Credit                              ~ 340 Marine                                         FORFEITUR~lPENALTY
                                 153 Recovery of                               ~ 422  Appeal   28                                     FEQERAL TAX SUtTS
❑ 490 Cable/Sat N                                    345 Marine Product           USC 158
                                 Overpayment of    ❑ Liability                                           625 Drug Related           870 Taxes(U.S. Plaintiff or
  850 Securities/Com-            Vet. Benefits                                   423 Withdrawal 28 ~ Seizure of Property 21       ❑ Defendant)
  modities/Exchange                                  350 Motor Vehicle         ❑ ~SC 757                 USC 881
                                 160 Stockholders' ~                                                                                877 IRS-Third Party 26 USC
    890 Other Statutory        ❑ Suits             ~ 355 Motor Vehicle             CIVIL RIGHTS        ❑ 690 Other                  7609
    Actions                                          Product Liability
                                                                                                                LABOR
    891 Agricultural Acts      ~ X90 Other           360 Other Personal        ❑ ~0 Other Civil Rights
                                 Contract          ❑ Injury                    ~ 441 Voting              710 Fair labor Standards
    893 Environmental                                                                                    Act
                                 195  Contract       362 Personal Injury-
    Matters                    ~                   ~ Med Malpratice            ~ 442 Employment        ~ 720 Labor/M9mt.
                                 Product Liability
    895 Freedom of Info.                                                         443 Housing/            Relations
❑   Act                        ❑ 196 Franchise
                                                     365 Personal Injury-
                                                   ❑ Product Liability           Accommodations
                                                                                                       ~ 740 Railway Labor Act
    896 Arbitration             REALPROPERTY                                     ~5 American with
                                                     367 Health Care/                                  ~ 751 Family and Medical
                                 210 Land          ~ Pharmaceutical            ❑ Disabilities-
    899 Admin.Procedures                                                         Employment              leave Ad
                                 Condemnation        Personal Injury
    AcUReview of Appeal of     ~ 220 Foreclosure     Product Liability           446 American with     ~ 790 Other Labor
    Agency Decision                                                            ~ Disabilities-Other      Litigation
                                                     368 Asbestos
    950 Constitutionality of     230 Rent Lease & ~ personal In'u                                        791 Employee Ret. Inc.
    State Statutes             ~ E'ectment                      ~ ry           ❑ ~8 Education          ❑ Securit Act
                                                     Pr duct Liabilit                                            y

FOR OFFICE USE ONLY:                    Case Number:      ~ • ~           ~ s
CV-71 (05/17)                                                             CIVIL COVER SHEET                                                              Page 1 of 3
          Case 2:17-cv-07873-DMG-E Document 1 Filed 10/27/17 Page 12 of 13 Page ID #:12
                                            UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                 CIVIL COVER SHEET

 VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
 to change,in accordance with the Court's Generel Orders, upon review by the Court of your Complaint or Notice of Removal.

 QUESTION A: Was this case removed
from state court?                                                   STATE CASE WA5 PENDING IN THE CdUNTY OF:                                  INITIAL DIVISION W CACI]15:
               Yes ~ No
                                                 Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                 Western
If"no," skip to Question B. If"yes;' check the
box to the right that applies,enter the        ❑ Orange                                                                                                 Southern
corresponding division in response to
Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                                  Eastern



QUESTION B: IS the United States, or 8.1. Do 50% or more of the defendants who reside in                      YES. Your case will initially be assigned to the Southern Division.
one of Its agencies or employees,a   the district reside in Orange Co.?                                     ~ Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                        from there.
                                                  check one ofthe boxes to the right    ~1
                    Yes ~ No                                                                                ~ NO. Continue to Question 6.2.

                                                  B.2. Do 50% or more of the defendants who reside in         YES. Your case will initially be assigned to the Eastern Division.
If"no,"skip to Question C. If "yes," answer       the district reside in Riverside and/or San Bernardino    ~ Enter "Eastern" in response to Question E, below,and continue
Question 6.1, at right.                           Counties? (Consider the two counties together.)             from there.

                                                  check one ofthe boxes to the right    ~►                       N0. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below, and continue
                                                                                                                 from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                      from there.
                     ~/              check one of the boxes to the right  ~~
                 Yes 13Q No                                                                  ~ NO. Continue to Question C.2.
                     7`~
                                                  C.2. Do 50/0 or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes;' answer    district reside in Riverside and/or San Bernardino       ~ Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                           Counties? (Consider the two counties together.)            from there.

                                                  check one of the boxes to the right   ~♦                       N0. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter "Western" in response to Question E, below, and continue
                                                                                                                 from there.
                                                                                                            Q.                         B.                             G
                                                                                                                                Riverside or San            Los Angeles, Ventura,
QUESTION D: LOCdtiOn Af plaintiffs dnd defendants?
                                                                                                     Orange County             Bernardino County            Santa Barbara, or San
                                                                                                                                                             Luis Obispo County.
Indicate the locations) in which S0~/a or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                 D.1. Is there at least one answer in Column A?                                            D.2. Is there at least one answer in Column B?
                                        Yes       ~ No                                                                       ~ Yes         ~ No

                    If "yes," your case will initially be assigned to the                                     If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                         EASTERN DIVISION.
    Enter "Southern" in response to Question E, below, and continue from there.                              Enter "Eastern" in response to Question E, below.
                         If "no," go to question D2 to the right.           ~~                         If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                             Enter "Western" in response to Question E, below.                j,


QUESTION E: Initial DiviSlan?                                                                                           INITIAL piVi510N 1N CAtD

Enter the initial division determined by Question A, B, C, or D above: ~~                                  r'    -~ ~

QUESTIE3N F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                          ~ Yes             ~ No
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 IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                 ~ NO                ~ YES

         If yes, list case number(s):


 IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                                    NO            ~ YES
         If yes, list case number(s):



         Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

         Note: That cases may involve the same patent,trademark, or copyright is not,in itself, sufficient to deem cases related.



         A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if ~rtClC~a~s'.~/-J


 X. SIGNATUREII~ATT   EY
(ORSELF-REPRESENT D LITIGANT):                                ~OS~.               ~~(iLC C                                         DATE:         ~(~ '- 27"Z~~~

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A):




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) underTitle 18, Part A,of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U:S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B,of the Federal Coal Mine Health and Safety Ad of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act,as amended; plus
        863                       DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C.405(g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                       DIWW
                                                   amended.(42 U.S.C.405(g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Security Ad,as
        864                       SSID
                                                   amended.

       865                        RSI              All claims for retirement(old age)and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C.405 (g))




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